        Case 3:20-cv-00893-RS Document 37 Filed 07/16/20 Page 1 of 2



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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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13   MIYOKO'S KITCHEN,                                   3:20-cv-00893-RS

14                                      Plaintiff,       NOTICE OF WITHDRAWAL OF
                                                         POSITION
15                v.
                                                         Date:          July 16, 2020
16                                                       Judge:         Honorable Richard Seeborg
     KAREN ROSS, in her official capacity as
17   Secretary of the California Department of
     Food and Agriculture, and STEPHEN                   Trial Date:   Not Set
18   BEAM, in his official capacity as Branch            Action Filed: February 6, 2020
     Chief of the Milk and Dairy Food Safety
19   Branch,
20                                   Defendants.

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                                                           Notice of Withdrawal of Position (3:20-cv-00893-RS)
        Case 3:20-cv-00893-RS Document 37 Filed 07/16/20 Page 2 of 2



 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS:

 2         PLEASE TAKE NOTICE that the California Department of Food and Agriculture

 3   withdraws its position that “[i]mages of animal agriculture from [Miyoko’s] website must . . . be

 4   removed . . . .”1 The Department reviewed this position stated in the December 9 letter and

 5   concluded that the position is inconsistent with the relevant statute, California Food and

 6   Agricultural Code Section 38955. After review of the statute’s text, the Department concluded

 7   that (1) this statute requires the promulgation of a regulation prior to enforcement, and the

 8   Department has not promulgated such a regulation, and (2) the statute concerns the package itself,

 9   not other promotional materials.
10         Defendants will address the effect of this withdrawal in their brief in opposition to
11   Miyoko’s Motion for Preliminary Injunction and their Answer.
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13   Dated: July 16, 2020                                  CALIFORNIA DEPARTMENT OF FOOD AND
                                                           AGRICULTURE, MILK AND DAIRY FOOD SAFETY
14                                                         BRANCH
15                                                         /s/ Stephen Beam
                                                           STEPHEN BEAM
16                                                         Branch Chief
17   Dated: July 16, 2020                                  XAVIER BECERRA
                                                           Attorney General of California
18                                                         MYUNG J. PARK
                                                           Supervising Deputy Attorney General
19
                                                           /s/ Michael S. Dorsi
20                                                         MICHAEL S. DORSI
                                                           Deputy Attorney General
21                                                         Attorneys for Defendants
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23         As the attorney e-filing this document, Michael S. Dorsi attests that Stephen Beam

24   concurred in the filing of this document. /s/ Michael S. Dorsi

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               The relevant text of the December 9 letter, now withdrawn, states, “Images of animal
     agriculture from the website must also be removed such as the image below of the woman
27   hugging a cow with other cows grazing in the background and the claim ‘100% dairy free and
     cruelty free’. Dairy images or associating the product with such activities cannot be used on the
28   advertising of products which resemble milk products. FAC 38955.” ECF No. 1-1 at 1–2.
                                                       2
                                                            Notice of Withdrawal of Position (3:20-cv-00893-RS)
